    Case 1:19-cv-00022-JRH-BKE Document 39 Filed 11/06/20 Page 1 of 4



                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION


TIPTON D. SHOLES, M.D.,               *
                                      *


                                      *


     Plaintiff,                       *
                                      *            CV 119-022
           V.                         *
                                      ★


BOARD OF REGENTS OF THE               *
UNIVERSITY SYSTEM OF                  *
GEORGIA, d/b/a Augusta                *
University, et al.,                   *

     Defendants.                      *




                                   ORDER




     Before the Court is Plaintiff's motion for reconsideration

(Doc. 29) of the Court's March 23, 2020 Order (Doc. 27).          The facts

of this case are presented in the Court's March 23, 2020 Order and

are incorporated by reference.       (Doc. 27, at 2-3.)    In that Order,

among other     matters, the Court denied Plaintiff's motion for

default judgment against Defendants AU Health System, Inc. and AU

Medical   Center,   Inc.   (''AU   Defendants").   On     April   8,   2020,

Plaintiff filed the present motion asking the Court to reconsider

its ruling on the motion for default judgment.            (Doc. 29.)     For

the following reasons. Plaintiff's motion for reconsideration is

DENIED.
    Case 1:19-cv-00022-JRH-BKE Document 39 Filed 11/06/20 Page 2 of 4



                                 DISCUSSION


    ''Reconsideration     of a    previous    order is    an   extraordinary

remedy, to be employed sparingly."        Armbuster v. Rosenbloom, No.

l:15-cv-114, 2016 WL 1441467, at *1 (S.D. Ga. Apr. 11, 2016)

(citation and internal quotation marks omitted); see also Spellman

V. Haley, No. 97-T-640-N, 2004 WL 866837, at *2 (M.D. Ala. Feb.

22, 2002) ("[L]itigants should not use motions to reconsider as a

knee-jerk reaction to an adverse ruling.").        Because it "is not an

appeal, . . . it is improper on a motion for reconsideration to

ask the Court to rethink what the Court has already thought through

— rightly or wrongly." Armbuster, 2016 WL 1441467, at *1 (citation

and internal quotation marks omitted).           It is well established

that "additional facts and arguments that should have been raised

in the first instance are not appropriate grounds for a motion for

reconsideration."      Gouqler v. Sirius Prods., Inc., 370 F. Supp. 2d

1185, 1189 (S.D. Ala. 2005) (citation omitted); see also Am. Home

Assurance Co. v. Glenn Estess & Assocs., Inc., 763 F.2d 1237, 1239

(11th   Cir.   1985)    (cautioning   against    use     of    a   motion   for

reconsideration to afford a litigant "two bites at the apple");

Rossi V. Troy State Univ., 330 F. Supp. 2d 1240, 1249-50 (M.D.

Ala. 2002) (denying motion for reconsideration when plaintiff

failed to submit evidence prior to entry of original order and

failed to show good cause for the omission).
       Case 1:19-cv-00022-JRH-BKE Document 39 Filed 11/06/20 Page 3 of 4



       Furthermore, '"the moving party must set forth facts or law of

a strongly convincing nature to induce the court to reverse its

prior decision." Burger King Corp. v. Ashland Equities, Inc., 181

F. Supp. 2d 1366, 1369 (S.D. Fla. 2002).               And, ultimately, ''the

decision to grant a motion for reconsideration 'is committed to

the sound discretion of the district judge.'"              Townsend v. Gray,

505 F. App'x 916, 917 (11th Cir. 2013) (quoting Region 8 Forest

Serv. Timber Purchasers Council v. Alcock, 993 F.2d 800, 806 (11th

Cir. 1993)).

       Plaintiff filed the present motion for reconsideration within

twenty-eight days of the Court's Order; therefore, the Court will

analyze the motion under Federal Rule of Civil Procedure 59(e).

See Brown v. Spells, No. 7:ll-cv-91 (HL), 2011 WL 4543905, at *1

(M.D. Ga. Sept. 30, 2011); accord Mahone v. Ray, 326 F.3d 1176,

1177 n.l (11th Cir. 2003).          Reconsideration under Rule 59(e) is

justified     only   when   there is: "(1) an intervening          change in

controlling law; (2) the availability of new evidence; or (3) the

need    to   correct   clear    error   or   prevent   manifest   injustice."

Schiefer v. United States, No. CV206-206, 2007 WL 2071264, at *2

(S.D. Ga. July 19, 2007).

       Plaintiff's     motion    requests     reconsideration     because   AU

Defendants "were properly served in accordance with the rules of

FRCP on March 21[,] 2019."          (Doc. 29.)     Plaintiff does not cite

any intervening legal authority nor present any newly discovered
    Case 1:19-cv-00022-JRH-BKE Document 39 Filed 11/06/20 Page 4 of 4



evidence.     Instead, in support of his motion. Plaintiff attaches

"proof of service including the packet sent" as an exhibit.           (Doc.

29-1.) Rule 59(e) "cannot be used to relitigate old matters, raise

argument or present evidence that could have been raised prior to

the entry of judgment." Arthur v. King, 500 F.3d 1335, 1343 (11th

Cir. 2007) (citation omitted).     That is what Plaintiff attempts to

do here.    Prior to the Court's March 23, 2020 Order, Plaintiff did

not offer any response or evidence showing he properly served AU

Defendants.     Thus, he cannot present evidence now that he could

have presented prior to the Court's Order.

     For     the   foregoing    reasons,    Plaintiff's      motion     for

reconsideration    is DENIED.     Despite   having   filed   his   amended

complaint. Plaintiff failed to' properly serve AU Defendants within

thirty-days as ordered by this Court. Nonetheless, Plaintiff shall

have THIRTY (30) DAYS from the entry of this Order to serve AU

Defendants in accordance with the Court's Local Rules.

     ORDER ENTERED at Augusta, Georgia, this            day of November,

2020.



                                 J. RANDAjxmLL, OlTlEF JUDGT
                                 UNlTEp/STATES DISTRICT COURT
                                 "BUUTHERN DISTRICT OF GEORGIA
